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 Juror ID:                                  DRAFT

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

  UNITED STATES OF AMERICA
                                                                         S3 24 Cr. 542 (AS)
          -v.-
                                                                JURY QUESTIONNAIRE
  SEAN COMBS,
    a/k/a “Puff Daddy,”
    a/k/a “P. Diddy,”
    a/k/a “Diddy,”
    a/k/a “PD,”
    a/k/a “Love,”

                           Defendant.



                                BACKGROUND INFORMATION

        The purpose of this questionnaire is to provide guidance to the attorneys and the Judge in
deciding who is qualified to serve on this particular case. Please answer the questions as honestly and
completely as possible. There are no “right” or “wrong” answers; there are only truthful answers. It
is important that you are completely candid as to your actual views and feelings. It is also important
that your answers to the questionnaire be yours and yours alone. Do not discuss the questionnaire or
your answers with anyone. If you do not understand a question, say so on the questionnaire. If a
question touches on an especially personal or sensitive matter, please answer “private” and you will
be given the opportunity to discuss the matter in private at a later time. You must sign this
questionnaire on the last page and your answers will have the effect of a statement made under oath
to the Court. Thank you for your cooperation with these instructions and for your careful and honest
responses to the questionnaire. Your forthright and full cooperation is of vital importance to ensuring
a fair and impartial trial in this case, as guaranteed by the Constitution.

Please PRINT your answers in INK and write your juror number on every page in the space
provided.
                                            SCHEDULE
 Potential jurors will be called back for further questioning and jury selection from Monday,
 May 5, 2025 through Friday, May 9, 2025. Your availability during that week will be
 required.
 The trial will commence on Monday, May 12, 2025. The trial is expected to last about eight
 to ten weeks. Generally, trial will be held five days per week, Monday through Friday. During


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the first week of trial from Monday, May 12, 2025 through Friday, May 16, 2025, trial will
be held from 9:30 a.m. until 5:00 p.m. After the first week, trial will be held from 9:30 a.m.
until 3:00 p.m. Trial will not be held on Friday, May 23, 2025 (Friday before Memorial Day),
Monday, May 26, 2025 (Memorial Day), Thursday, June 19, 2025 (Juneteenth), or Friday,
July 4, 2025 (Independence Day).
If you are selected as a juror, you will be required to be present for the taking of testimony and
evidence for as long as the trial lasts. There are no plans to sequester the jury, which means you
will go home every day after court.
All jury service involves some degree of hardship. Our court and justice system depends on
citizens doing their civic duty to serve as jurors, which involves temporarily putting aside their
regular business for jury service. The Court views service on a jury to be one of the highest duties
a citizen owes to the United States. Mere inconvenience or the usual financial hardship of jury
service will not be sufficient to excuse a prospective juror. You must show extraordinary personal
or financial hardship to be excused from service.
               (Please turn the page and read and complete the questionnaire.)




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                                          HARDSHIP

  1 Would serving on this jury cause you undue hardship or extreme inconvenience?
                              □ Yes                           □ No

      If yes, what is your hardship? Please fully explain.




  2   What arrangements, if any, can you make to alleviate your hardship?




  3    Are you employed?
                              □ Yes                           □ No
       a. Are you retired?
                              □ Yes                           □ No

       b. If employed, will you be paid while you serve jury duty?
                              □ Yes                           □ No                □ Not Sure

       c. Would service cause severe economic hardship to your employer?
                              □ Yes                           □ No
        If yes, please explain:




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  4    Do you have any medical condition that would make it difficult for you to serve as a juror
       on this case?
                               □ Yes                          □ No
       If yes, please list condition(s):




  5
       Are you taking any prescription medication that may interfere with your ability to
       concentrate or serve as a juror in any way?
                               □ Yes                          □ No
       If yes, please list medication(s) and effect(s):




  6    Do you have any physical, medical, psychological, or emotional problems, issues, or
       conditions that would affect your ability to serve as a juror, including difficulty hearing,
       seeing, reading, or concentrating?
                               □ Yes                          □ No
       If yes, please explain. If you wish to discuss this in private, please indicate:




  7    Is there anything else going on in your life or work that would prevent you from giving
       this case your full attention for the duration of trial?




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                             IMPORTANT – READ CAREFULLY

       As a prospective juror, you MUST follow the instructions listed below until you have been
excused from further service in this case.
PLEASE DO NOT read anything whatsoever about this case, the participants in the case, or any
of the issues in the case. Please avoid any media accounts that may relate to this case.

PLEASE DO NOT read or listen to any media accounts whether in a newspaper, on the internet,
on television, on the radio, or on any electronic or social media of any kind concerning this case.

PLEASE DO NOT conduct any research, including on the Internet, about this case, the
participants in the case, or any of the issues in the case.

PLEASE DO NOT at any time discuss this case (including this questionnaire) with anyone,
including your friends, family members, or other prospective members of this jury panel.

PLEASE DO NOT discuss or post anything about this case on any electronic or social media,
including Facebook, YouTube, Twitter/X, Reddit, Instagram, LinkedIn, Snapchat, TikTok, e-mail,
text message, any blog, website, or chat forum, or any other media of any kind.

PLEASE DO NOT let anyone, including friends, family members, court personnel, parties in this
case, or persons involved in the case, talk to you about your views or any aspect of this case except
officially in the courtroom. If you are exposed to outside information, please notify the court
immediately.

                                DESCRIPTION OF THE CASE
This is a criminal case brought by the United States Attorney for the Southern District of New
York. The defendant is Sean Combs. Mr. Combs has been charged in an Indictment, alleging a
number of crimes, including Racketeering or RICO Conspiracy, Sex Trafficking and
Transportation to Engage in Prostitution, kidnapping, arson, obstruction of justice, bribery, drug
distribution and forced labor. An Indictment is not evidence of anything. Mr. Combs has pled not
guilty and he is presumed innocent.




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                                        BACKGROUND

  8
       Age: ______
       Sex: ______
       Gender Identity: ______

  9
       Place of Birth: __________________

  10
       County of Residence: __________________

  11   Your town or neighborhood and how long you have lived at your current address:




  12   What is your occupation? If you are not currently employed, please describe your most
       recent prior employment.




  13    By whom are (were) you employed?




       a. What are (were) your specific duties at your job?




       b. Please list any other jobs you have held in the past 10 years:




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       c. Do (did) you supervise other people?
                             □ Yes                        □ No
       If yes, how many people do (did) you manage and/or supervise




       d. Please briefly describe what management and/or supervisory responsibilities you have
       had. (e.g., do you conduct performance reviews, are you responsible for hiring and firing
       decisions, etc.):




  14   Have you served in the military?
                               □ Yes                         □ No

  15   What is the highest level of education you have completed?

        □ Less than high school
        □ High school graduate
        □ Some college/vocational training
        □ College graduate. If so, please indicate degree and/or field of study:

        _________________________________________________________________

        Do you have a post-graduate degree? If so, please indicate degree and/or field of
        study:

        _________________________________________________________________

  16    Are you married, living with a partner, or in a relationship?
                               □ Yes                         □ No
        If yes, then please answer:

        a. What is their primary occupation or employment?



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        b. What is the name of their employer?




       c. How long have they worked for that employer or been in that occupation?




       d. What are their job responsibilities?




       e. What specialized training did they receive for the position, if any?




  17   Do you have any children?
                               □ Yes                          □ No

  18   Have you, a family member, or someone close to you received any training,
       experience, or specialized knowledge in any of the following?

            □ Business
            □ Sexual Assault Training
            □ Sexual Harassment Training
            □ Domestic Violence Training
            □ Psychiatry/Psychology
            □ Security Services
            □ Addiction Treatment or Counseling
            □ Finance
            □ Law

       If you checked any boxes, please provide detail:




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  19   Please list any groups and/or organizations to which you belong (for example,
       church groups, professional organizations, volunteer activities, victim’s rights
       groups, etc.):




  20   Please list any groups and/or organizations to which your spouse/partner belongs:




  21   What are your hobbies or interests outside of work and family?




  22   Please provide the names of any newspapers, magazine, online news services, websites,
       or other publications that you read regularly:




  23   When in a group trying to make a decision, do you usually:

            □ Strongly express your views to get the outcome you believe is best
            □ Participate in the discussion and try to help build a consensus
            □ Listen and follow what you think the majority favors
            □ Other (please describe):




  24   Do you have any physical or other disability, medical condition, hardship, or problem, or


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        is there anything that would make it difficult or impossible for you to serve as a member
        of this jury, or that would need an accommodation by the Court?

                                  □ Yes                        □ No
        If yes, please explain:




  25    Are you now taking, or do you anticipate taking, any medication that might in any way
        affect your attention or your ability to concentrate, understand, consider, and weigh the
        evidence in this case?
                                  □ Yes                        □ No
        If yes, please explain:




                       OPINIONS BASED ON NATURE OF CHARGES

  26     Based on the nature of the charges, have you formed any opinions about this case or the
         individual accused?
                                  □ Yes                         □ No
         Please explain:




         a. Now that you have heard the nature of the charges, would this cause you to believe that
         you could not serve fairly and impartially as a juror in this case?
                                  □ Yes                         □ No
         Please explain:




  27     Do the allegations of sex trafficking, RICO conspiracy and transportation to engage in
         prostitution cause you to believe that you could not serve fairly and impartially as a juror


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         in this case?
                                   □ Yes                        □ No
         If yes, please explain:




         a. As part of the RICO Conspiracy count, the government alleges that Mr. Combs
         committed the following crimes: kidnapping, arson, bribery of a witness, obstruction of
         justice, drug distribution and forced labor. Is there anything about these allegations that
         cause you to believe you could not serve fairly and impartially as a juror in this case?

                                   □ Yes                        □ No
         If yes, please explain:




  28     There may be evidence of graphic videos and photographs, including videos of physical
         violence, in connection with this case. Would such evidence interfere with your ability to
         sit fairly and impartially in hearing the evidence or the lack of evidence?
                                   □ Yes                        □ No
         Please explain:




         a. There may be evidence of sexually explicit videos, photographs and language in
         connection with this case. Would such evidence interfere with your ability to sit fairly and
         impartially in hearing the evidence or the lack of evidence?
                                   □ Yes                        □ No
         Please explain:




         b. Would you be able to listen to and discuss matters of a sexual nature with fellow


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         jurors?
                                   □ Yes                      □ No
         Please explain:




  29     Based on the nature of the charges have you formed an opinion as to the innocence or guilt
         of the accused in this case before hearing the evidence.

            □ Guilty               □ Not Guilty                   □ No Decision

         Please explain what led to your opinion:




  30     Do you have any opinions about addiction to drugs or alcohol that would prevent you from
         maintaining an open, impartial mind until all of the evidence is presented and the Court
         gives you instructions?
                                   □ Yes                      □ No
         If yes, please explain:




         a. The evidence may show that certain people in the case used drugs, including illegal
         drugs. Do you have any strong opinions about people who use illegal drugs?
                                   □ Yes                      □ No
         If yes, please explain:




                           PERSONAL BELIEFS/LIFE EXPERIENCES


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Some of these questions involve personal matters, and if you choose to discuss them in private,
please indicate that in your answers.

  31     Have you, a family member, or someone close to you been the victim of sexual
         harassment? If yes, please provide detail.




         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  32     Have you, a family member, or someone close to you been accused or charged with sexual
         harassment? If yes, please provide detail.




         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  33     Have you, a family member, or someone close to you been the victim of sexual assault? If
         yes, please provide detail.




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         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  34     Have you, a family member, or someone close to you been accused or charged with sexual
         assault? If yes, please provide detail.




         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  35     Have you, a family member, or someone close to you been the victim of domestic
         violence? If yes, please provide detail.




         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  36     Have you, a family member, or someone close to you have been accused or charged with
         domestic violence? If yes, please provide detail.




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         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  37     This case involves Sean Combs, who some people think of as an international celebrity.
         Would that affect the manner in which you would evaluate evidence in this case? Please
         explain.




            There may be evidence in this case about rich individuals. Do you have any
            opinions regarding rich individuals that would affect your ability to service as a
            fair and impartial juror in this case?




            Some people believe rich people can buy their way out of anything. What is your
            opinion on that topic?




  38     Do you have any general opinion about the hip hop rap music industry?

                                  □ Yes                        □ No
         If yes, please describe the reasons for your opinion:




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         If yes, how would that experience affect your ability to fairly and without bias sit as a juror
         in this case?




  39     There may be evidence in this case about people engaging in relationships with multiple
         sexual partners. Would hearing about that type of evidence affect your ability to serve as
         a fair and impartial juror in this case?
                                  □ Yes                          □ No




  40     There may be evidence in this case about body modifications. Would hearing about
         evidence of body modifications affect your ability to serve as a fair and impartial juror in
         this case?
                                  □ Yes                          □ No




                                          NEWS SOURCES

  41     Which of the following is your primary source of local and national news? Check all that
         apply:

            □ Television        □ Magazines
            □ Radio             □ Online or Internet
            □ Newspaper         □ Conversations with friends or family members

  42     Do you ever listen to political commentators on TV or “talk radio” or Podcasts?
                                □ Yes                            □ No
         If yes, which ones do you listen to?




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  43     What national news stories have been of particular interest to you?




  44     Have you followed any criminal cases involving celebrities?
                                   □ Yes                          □ No
         If yes, please list the cases and what was or is of interest to you about these cases.




                               MEDIA HABITS AND EXPOSURE

  45     Do you have an account on any social media platforms?
                                  □ Yes                          □ No

         a. If yes, please identify the platform(s):




         b. Do you use any other social media platforms? If yes, please list them and explain how
         frequently you use them:

                                  □ Yes                          □ No




         c. Do you belong to any groups on social media (ex. Facebook , WhatsApp, X-Twitter,
         Instagram groups)? If yes, please list the groups:

                                  □ Yes                          □ No



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         d. Have you ever posted messages, comments, or opinions on websites/social media, or
         blogged? If yes, please describe the websites or social media platforms that you have used;
         the types of things you have posted or blogged.

                                □ Yes                          □ No




         e. Have you read, listened to, commented on, “liked,” or posted anything on social media
         about Sean Combs? If yes, please explain:
                                □ Yes                          □ No




  46     Have you read, listened to, commented on, “liked,” or posted anything on social media
         about Sean Combs?

                                □ Yes                          □ No

         a. Have you watched any shows on televisions about Sean Combs?

         □ The Fall of Diddy
         □ Diddy Do It?
         □ The Downfall of Diddy
         □ Diddy: The Making of a Bad Boy
         □ Other: ___________________________________________________________

         b. Have you heard or read anything in any media about Sean Combs that may affect your
         ability to be a fair and impartial juror?
                                □ Yes                          □ No




         c. Have you received information from any other source that may affect your ability to be
         a fair and impartial juror?

                                □ Yes                          □ No



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            KNOWLEDGE OF THE TRIAL PARTICIPANTS AND THE CASE

Because of the publicity surrounding this case, some jurors may have heard and/or read something
about the case at some time. There is nothing wrong with having heard/read something about this
case. It is important that you truthfully and fully answer the following questions concerning your
knowledge about this case and the participants. The case for which you are summoned involves
Sean Combs.

  47     Have you seen, heard or read anything about Mr. Combs? If yes, what?
                                 □ Yes                         □ No




         a. Based on what you have seen, read or heard, please tell us what feelings or opinions
         you may have formed about this case or the individual accused.




  48     Do you have strong feelings about anything that you’ve heard or read about this case?

         If so, what are they?




         a. As a result of anything that you have heard or read about this case, would you be more
         likely to find the accused Guilty or Not Guilty because of the media’s coverage of this
         case?

            □ Guilty             □ Not Guilty                    □ No Decision


  49     Do you have any opinions about the publicity surrounding this case?



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                                   □ Yes                         □ No
         Please explain:




         a. Would these opinions make it difficult for you to sit as a fair and impartial juror in this
         type of case?

         If yes, please explain:




         b. The case is likely to receive ongoing media attention. The Court wants to make sure that
         this case is decided solely on the evidence presented in the courtroom and not based on
         influences outside the courtroom. The Court will be advising you daily that you must avoid
         reading about the Case on the internet, in newspapers, on social media, or television reports
         about the case. The Court will further advise you not to discuss the case with family or
         friends during the trial or with your fellow jurors until it is time to deliberate. Would these
         restrictions pose any difficulty for you?

                                   □ Yes                         □ No
         Please explain:




  50     Have you formed an opinion as to the innocence or guilt of the defendant in this case before
         hearing the evidence?

            □ Guilty               □ Not Guilty                     □ No Decision

         Please explain what lead to your opinion:




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  51     Do you or anyone close to you know or have any connection with any of the persons below
         who will be seated at the counsel table for the U.S. Government? (Please check name and
         indicate the connection in the space below)

            □ Assistant U.S. Attorney Maurene Comey
            □ Assistant U.S. Attorney Meredith Foster
            □ Assistant U.S. Attorney Emily Johnson
            □ Assistant U.S. Attorney Christy Slavik
            □ Assistant U.S. Attorney Madison Smyser
            □ Assistant U.S. Attorney Mitzi Steiner




  52     Do you or anyone close to you know or have any connection with any of the defense
         counsel? (Please check name and indicate the connection in the space below)

            □ Marc Agnifilo
            □ Jason Driscoll
            □ Anna Estevao
            □ Teny Geragos
            □ Alexandra Shapiro




  53     Have you seen, read or heard anything about any of these lawyers?
                                    □ Yes                     □ No
         If yes, please describe:




  54     The judge who will preside over this case is The Honorable Arun Subramanian of the
         United States District Court for the Southern District of New York. Do you or anyone close
         to you know or have any connection with Judge Subramanian or any of his staff?
                                    □ Yes                     □ No
         If yes, please explain:




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       EXPERIENCES WITH LAW ENFORCEMENT AND THE LEGAL SYSTEM

  55     Have you ever served as a juror?
                                  □ Yes                           □ No
         If yes, please check, as appropriate:

          □ Civil           Date(s):
          __________________________________________________________________
                             Nature of case(s):
          __________________________________________________________________

          □ Criminal         Date(s):
          __________________________________________________________________
                             Nature of case(s):
          __________________________________________________________________

  56     If prior experience as a criminal case juror, did your trial reach a verdict?
                                    □ Yes                         □ No

         And, were you the foreperson?
                                    □ Yes                         □ No

         a. Do you have any experience as a Grand Juror?
                                    □ Yes                         □ No

         If yes, please list the date(s) and nature of case(s):




         b. Was there anything about your jury experience that would make it difficult to serve
         fairly and impartially in this case?
                                    □ Yes                         □ No
          If yes, please explain:




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  57     Are you a vendor or contractor for the United States Government or do work with one?
                                    □ Yes                      □ No
          If yes, please explain:




  58     Have you, any member of your family, or anyone close to you ever been the victim of a
         crime of violence, reported or not?
                                   □ Yes                        □ No
         If yes, please state who (relation to you), when and what happened.




         a. Was there an arrest?
                                    □ Yes                      □ No

         b. What was the outcome?




  59
         Have you or anyone close to you ever been accused, arrested, charged or convicted of a
         crime, other than a traffic ticket?
                                 □ Yes                         □ No
         If yes, please state who (relation to you), when and what happened.




  60
         Have you, or has any member of your family with whom you resided at the time, or a close
         friend, ever been employed by or received training from any local, state or federal law
         enforcement agency? If yes, please list who you know, their relation to you and the
         organization:




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         If yes, do you believe this would interfere with your ability to serve as a fair and impartial
         juror?
                                  □ Yes                          □ No


                                       PERSONAL BELIEFS

  61     Under the U.S. Constitution, a person accused of a crime does not have to testify in his
         defense, and his silence many not be used against him. How do you feel about that?




  62     If a person does not tell his side of the story, do you feel he is more likely guilty?
                                  □ Yes                          □ No
         Why or why not?




  63     Would you favor law enforcement officers’ testimony over that of other witnesses?
                                  □ Yes                          □ No
         Why or why not?




  64     Would you favor alleged ‘victim’ testimony over that of other witnesses?
                                  □ Yes                          □ No
         Why or why not?




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  65     The United States has the burden of proving its case beyond a reasonable doubt. This
         burden never shifts to the defendants. They are presumed innocent and cannot be
         convicted unless the jury, unanimously and based solely on the evidence presented in court,
         decides their guilt has been proved beyond a reasonable doubt.

         Would you have any difficulty following this rule where the defendant is charged with
         these offenses?
                                   □ Yes                         □ No




  66     At the conclusion of this case it is the Court’s task and duty to charge you on the law and
         explain to you the elements of the crimes charged. Do you have any personal, religious,
         philosophical or other beliefs as to what the law is or should be that would make it difficult
         for you to follow the instructions of the Court?
                                   □ Yes                         □ No
         If yes, please explain:




  67     Is there is anything about the nature of the charges in this case or the people accused that
         would affect your ability to fairly evaluate the evidence to determine whether or not the
         prosecution has proven the guilt of the defendants beyond a reasonable doubt?
                                   □ Yes                         □ No
         If yes, please explain:




  68     As a result of filling out this questionnaire, have you now formed an opinion about this
         case?
                                   □ Yes                         □ No
         Please explain:



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  69     If during the course of jury deliberations, a fellow juror should suggest that you disregard
         the law or the evidence and decide the case on other grounds or considerations, would you,
         as a juror, be able to reject that suggestion and abide by your oath to this Court to decide
         the case solely on the evidence and the law as the Court has instructed you to do, without
         regard to sympathy, bias or prejudice?
                                   □ Yes                        □ No

  70     Is there any reason you could not be completely fair to the accused in this case?
                                   □ Yes                        □ No

  71     Is there any reason you could not be completely fair in evaluating the U.S. government’s
         case?
                                □ Yes                          □ No
         If you answered yes to either of the two previous questions, please explain:




  72     Is there any matter not covered by this questionnaire that you think is important to bring
         to the attention of the Court?
                                   □ Yes                        □ No
         If yes, please explain:




                                           DECLARATION

I, Juror Number ___ declare under penalty of perjury that the foregoing answers set forth in this
Jury Questionnaire are true and correct to the best of my knowledge and belief. I have not discussed
my answers with others, or received assistance in completing the
questionnaire.

Signed this ______ day of __________, 2025

   DO NOT WRITE YOUR NAME. PLEASE SIGN USING YOUR JUROR NUMBER.



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